          Case 1:11-cr-00354-JLT Document 3 Filed 10/18/11 Page 1 of 1


 1
 2
 3
 4
 5
 6
 7
 8                              IN THE UNITED STATES DISTRICT COURT
 9                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                                 CASE NO. CR F 11-354 LJO
12                            Plaintiff,
13            vs.
                                                               ORDER REGARDING                   CALENDAR
14                                                             CONFLICTS
15   RICHARD ANTONIO SALAS, JR. et al.,
16                            Defendants.
17                                                 /
18
19            At the October 14, 2011 Status Hearing, with all counsel and all parties present, this Court gave
20   notice to all counsel that once hearing and trial dates are agreed upon and set in this action, any conflicts
21   that thereafter develop will create a conflict with the other case and not the above-captioned matter.
22   With more than 45 lawyers involved in the instant action, the ability for calendar accommodation is non-
23   existent.
24   IT IS SO ORDERED.
25   Dated:         October 18, 2011                       /s/ Lawrence J. O'Neill
     b9ed48                                            UNITED STATES DISTRICT JUDGE
26
27
28

                                                           1
